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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION


GARY BRICE MCBAY                                                                      PLAINTIFF

V.                                                CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI, ET AL.                                              DEFENDANTS


             DEFENDANT, GEORGE PAYNE’S MOTION IN LIMINE NO. 7
              TO BAR PLAINTIFF’S EVIDENCE AND REFERENCES TO
                   ALLEGED PHOTOGRAPHS OF PLAINTIFF

       COMES NOW, Defendant, Sheriff George Payne, in his official capacity, by and through his

attorneys of record, Dukes, Dukes, Keating & Faneca, P.A., and moves this Honorable Court in

limine, for an Order barring Plaintiff’s evidence and references to alleged photographs of Gary Brice

McBay. In support thereof, Defendant states as follows:

       1.      Defendant respectfully moves this Court to bar Plaintiff from offering any

reference, testimony or argument referencing alleged photographs of Gary Brice McBay,

pursuant to Fed. R. Evid. 901, as Plaintiff has failed to properly authenticate these photographs.

See Photographs, Exhibit " ". Further, the prejudicial effect of this evidence outweighs its

probative value and should be excluded pursuant to Fed. R. Evid. 403.

       WHEREFORE PREMISES CONSIDERED Defendant, George Payne respectfully

requests this Court to enter an Order granting this Motion in Limine and respectfully requests the

Court to enter an Order as follows:

       A)      Directing the Plaintiff through their respective counsel, and counsel individually,
               not to mention, refer to, interrogate concerning, voluntarily answer, or attempt to
               convey before the jury whether orally or through a document, at any time during
               these proceedings, in any manner, either directly or indirectly, the subject matters
               as stated above without first informing the Court and obtaining permission of the
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               court outside the presence and hearing of the jury;

       B)      Instructing the Plaintiff, through their respective counsel, and counsel
               individually, not to make any reference or inference to the fact that this motion
               has been filed, argued or ruled upon by this Court; and

       C)      Instructing Plaintiff and Plaintiff’s attorney to warn and caution each and every
               witness appearing in their phase of this litigation to strictly comply with the
               Court’s ruling.

       RESPECTFULLY SUBMITTED, this the 1st day of April, 2009.

                                      GEORGE PAYNE, JR., IN HIS OFFICIAL
                                      CAPACITY ONLY, Defendant

                                      DUKES, DUKES, KEATING & FANECA, P.A.

                                      BY:     /s/Cy Faneca
                                             CY FANECA


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CERTIFICATE OF SERVICE

       I, CY FANECA, do hereby certify that I have this day electronically filed with the Clerk

of the Court using the ECF system which sent notification of such filing to the following:

               Patrick R. Buchanan
               Steven B. Dick
               Mark Watts
               Brown Buchanan
               P.O. Box 1377
               Biloxi, MS 39533


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  This, the 1st day of April, 2010.


                                        s/CyFaneca___________________________
                                        CY FANECA




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